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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                             )
 COMMITTEE ON WAYS & MEANS,                  )
  UNITED STATES HOUSE OF                     )
  REPRESENTATIVES,                           )
                                             )
               Plaintiff, Counter-Defendant, )
                                             )
                v.                           )
                                             )
 UNITED STATES DEPARTMENT                    )
  OF THE TREASURY, et. al.,                  )         No. 1:19-cv-1974 (TNM)
                                             )
               Defendants, Cross-Defendants, )
                                             )
                v.                           )
                                             )
 DONALD J. TRUMP, et al.,                    )
                                             )
               Intervenor-Defendants,        )
               Counter-Claimants, Cross- )
               Claimants.                    )
                                             )


                CROSS-DEFENDANTS’ UNOPPOSED MOTION FOR A
               TWO-DAY EXTENSION OF TIME TO FILE THEIR REPLY
       Cross-Defendants U.S. Department of the Treasury, the Internal Revenue Service, Secretary

of the Treasury Janet Yellen, and Internal Revenue Commissioner Charles P. Rettig respectfully

request a two-day extension of time to submit their reply in support of their motion to dismiss the

cross-claims asserted in the above-captioned action by Intervenor-Defendants, ECF No. 135. Cross-

Defendants’ reply is currently due on November 2, 2021. See Minute Order (Sept. 28, 2021); Minute

Order (Oct. 25, 2021).

       Cross-Defendants seek this extension with great reluctance. As explained herein, Cross-

Defendants’ request is necessitated by the sudden unavailability of the long-time principal team

member who had been responsible for drafting their arguments regarding the key issues of legitimate

legislative purpose and the application of Trump v. Mazars USA, LLP, 140 S. Ct. 2019 (2020). That

team member is unable to assist in preparing the reply because her three year old daughter has tested

positive for COVID-19, and her full attention is required to care for her daughter and her five year
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old son, who is now at risk of infection. The two-day extension that Cross-Defendants seek would

allow other team members to become sufficiently familiar with the key issues for which she had been

responsible to prepare Cross-Defendants’ reply.

       The same team that is responsible for drafting Cross-Defendants’ reply had been responsible

for preparing the Executive Branch’s response to a motion for a preliminary injunction in Trump v.

Thompson, No. 1:21-cv-2769 (TSC), a case in which the former President is challenging the disclosure

of Presidential records to the Select Committee to Investigate the January 6th Attack on the United

States Capitol. From October 19, 2021 until the early morning of October 30, 2021, when they filed

their opposition to that preliminary injunction motion, the team had to focus fully on preparing that

submission. The team had planned to spend the weekend of October 30–31, 2021 drafting their reply

in the instant case. However, on the evening of October 29, 2021, counsel’s three year old daughter

tested positive for COVID-19. As a result, a key member of the Cross-Defendants’ team is unavailable

to work on their submission.

       Cross-Defendants seek the brief extension requested herein not to allow them to prepare an

over-length submission, but only to permit remaining counsel on the case to adequately familiarize

themselves with the arguments for which that team member had had primary responsibility. Cross-
Defendants intend to submit the 25-page reply provided for by Local Civil Rule 7(e), but request the

two-day extension sought herein to allow them to do so.

       Consistent with Local Civil Rule 7(m) Cross-Defendants conferred with the other parties in

this case regarding the requested extension.       Counter-Defendants and Intervenor-Defendants

indicated that they do not oppose the relief sought herein.

       For the reasons explained herein, Cross-Defendants respectfully request that the Court extend

the deadline for the submission of their reply from November 2, 2021 until November 4, 2021.




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Dated: Oct. 30, 2021               Respectfully submitted,

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